        Case 8-19-77656-las              Doc 31        Filed 01/31/20   Entered 01/31/20 13:09:26




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
In Re:
                                                                            Case No.: 8-19-77656-las
CLIFTON COLE,
                                                                            Chapter 11
                                                 Debtor.
-----------------------------------------------------------X

                  ORDER CONVERTING CASE PURSUANT TO 11 U.S.C. § 1112
                FROM CHAPTER 11 TO CHAPTER 7 OF THE BANKRUPTCY CODE

         WHEREAS the Clifton Cole (“Debtor”) filed a petition for relief under Chapter 11 of the

Bankruptcy Code on November 8, 2019;

         WHEREAS on December 27, 2019, Debtor moved for an order converting the case from Chapter

11 to Chapter 7 of the Bankruptcy Code pursuant to 11 U.S.C. § 1112(a) (“Motion”);

         WHEREAS the Court held a hearing on Debtor’s Motion on January 30, 2020;

         WHEREAS no opposition was interposed to the relief requested; and

         WHEREAS based upon the record made at the hearing, the Court having found that conversion

of the Chapter 11 case to a Chapter 7 case is in the best interests of the Debtor, his estate, creditors, and

other parties in interest; and sufficient cause appearing therefor,

         IT IS HEREBY ORDERED:

              1. The Debtor’s Motion is granted to the extent provided herein.

              2. Pursuant to 11 U.S.C. § 1112(a), the instant Chapter 11 Case is hereby converted to a

                   case under Chapter 7 of the Bankruptcy Code as of the date of entry of this Order.

              3. The Debtor shall turn over to the Chapter 7 trustee all records and property of the estate

                   under his custody and control as required by Rule 1019(4) of the Federal Rules of

                   Bankruptcy Procedures (“Bankruptcy Rules”).

              4. The Debtor shall file a schedule of unpaid, post-petition debts, including the name and

                   address of each creditor, as required by Bankruptcy Rule 1019(5) within fifteen (15) days

                   of the date of this Order.


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        5. The Debtor shall file the statements and schedules required by Bankruptcy Rules

            1019(a)(A) and 1007(b), if such documents have not already been filed, within fifteen

            (15) days of the date of this Order.

        6. Debtor shall file and transmit to the United States Trustee a final report and account as

            required by Bankruptcy Rule 1019(5)(A) within thirty (30) days from the date of this

            Order.




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Dated: January 31, 2020                                             Louis A. Scarcella
       Central Islip, New York                               United States Bankruptcy Judge

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